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                 Exhibit 8
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                                                                     Bureau of Alcohol. Tobacco.
                                                                     Firearms and Explosives



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              Mr. Alan Aronstein                                  SEP Z 8 2012
              Hi-Standard Manufacturing Company
              5151 Mitchelldale, Ste. B II
              Houston, Texas 77902

              Dear Mr. Aronstein:

             This is in reference to your recent correspondence to the Bureau of Alcohol, Tobacco, Firearms
             and Explosives (ATF), Firearms Technology Branch (FTB), with accompanying samples (see
             enclosed photos) for evaluation and classification per provisions of the Gun Contro l Act of 1968
             (GCA), 18 U.S.C. § 921(a)(3).

              As background to our discussion, the GCA, § 921 (a)(3), defines the term "firearm" to include:

              ... (A) any weapon (including a starter gun) which will or is designed to or may readily be
              converted to expel a projectile by the action ofan explosive; [and] (B) the frame or receiver of
              any such weapon ....

              Please note that any receiver-casting or receiver-blank that has been fini shed to the point at
              which it can be recognized as a firearm frame or receiver is a "firearm." Our Branch has held
              that in order not to be recognized as a "firearm," a semiautomatic-style receiver-blank or
              receiver-casting must not have: a) slide rails or slide rail indexing marks; b) a barrel seat; and
              c) more than two of any of the following four critical holes drilled- I) slide-stop pivot, 2) sear
              pivot, 3) disconnector, or 4) hammer pivot pin.

              The FTB examination of your submitted 1911-type sample found that is has had the following
              machining operations partially or fully completed:

                 •   Casting from steel, the outside profile of which is generally to shape, with recess for the
                     hammer slot and the magazine well.
                 •   The ramp partially formed, partially machined.
                 •   Relief cut in front strap for the magazine floor-plate.
                 •   Thumb-safety detent area partially machined.
                 •   Magazine-catch opening machined.
                 •   Trigger-assembly opening machined.




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              Mr. Alan Aronstein


              We noted that there is no barrel seat; there are no mounting pin holes for the hammer, trigger,
              sear or takedown pin; and no slide guide rails have been formed or indexed.

              Further, the FTB examination of your target-pistol type sample disclosed that it has had the
              following machining operations partially or fully completed:

                 •   Casting from steel, the outside profile of which is generally to shape, with recess for the
                     hammer slot machined.
                 •   Magazine well partially machined.
                 •   Feed ramp formed and machined.
                 •   Relief cut in front strap for the magazine floor-plate.
                 •   Magazine-catch area on front strap machined.
                 •   Opening for magazine-catch roller and roller pin machined.
                 •   Trigger recess machined.
                 •   Trigger stop-pin hole machined.
                 •   Barrel seat partially machined.
                 •   Barrel take-down pin hole machined.
              We noted that there is a partially machined barrel seat; however, there are no mounting pin holes
              for the hammer, trigger, and sear, and no slide guide rails have been formed or indexed.

             In conclusion, the FTB evaluation finds that the submitted Hi-Standard, 1911-type receiver blank
             and Hi-Standard, target-pistol type receiver blank are not "firearms" as defined.

              In order to facilitate the return of your samples, please provide us with your FedEx account or a
              U.S. Postal Service, UPS, or other appropriate carrier return-shipping label within 30 days of the
              receipt of this letter.

              We thank you for your inquiry and trust the foregoing has been responsive. Should you have any
              additional questions, do not hesitate to contact us.          .

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                                                         hn R. Spencer
                                                    Fir arms Technology Branch
              Enclosure




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